                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV

                                                                                                                      Dec 18, 2020
                                           UNITED STATES DISTRICT COURT                                             s/ JeremyHeacox
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)
   Information related to the Sprint cellular telephone
                                                                            )      Case No.   20-M-494 (SCD)
                                                                            )
      assigned call number (414) 349-6407, MSID                             )      Matter No.: 2020R00325
      000004144679717 (the "Target Cell Phone")                             )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A. This Court has jurisdiction pursuant to 18 U.S.C. §§2703 and 2711 and Fderal Rule of Criminal Procedure
  41;




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




                                                                                         1-1-21
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. Stephen C. Dries                  .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ✔ for 30 days (not to exceed 30) u until, the facts justifying, the later specific date of
     u                                                                                                                                 .


Date and time issued:             12-18-20 1:35 pm
                                                                                                          Judge’s signature

City and state:                   Milwaukee, Wis                                              Stephen C. Dries, U.S. Magistrate
                                                                                                        Printed name and title
                           Case 2:20-mj-00494-SCD Filed 12/18/20 Page 1 of 26 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                           Case 2:20-mj-00494-SCD Filed 12/18/20 Page 2 of 26 Document 1
                                  ATTACHMENT A

                               Property to Be Searched

1. Records and information associated with the cellular device assigned call number (414)

   349-6407, with International Mobile Subscriber Identity MSID-000004144679717 (the

   “Target Cell Phone”), whose listed subscriber(s) is unknown, that is in the custody or

   control of Sprint (referred to herein and in Attachment B as the “Provider”), a wireless

   communications service provider that is headquartered at 6602 Sprint Parkway Suite 1,

   Overland Park, Kansas 66251.


2. The Target Cell Phone.




     Case 2:20-mj-00494-SCD Filed 12/18/20 Page 3 of 26 Document 1
                                    ATTACHMENT B

                              Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period July 1, 2020
           to present:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.

                                              2

       Case 2:20-mj-00494-SCD Filed 12/18/20 Page 4 of 26 Document 1
       ix. All records and other information (not including the contents of
           communications) relating to wire and electronic communications sent or
           received by the Target Cell Phone, including:

            (A) the date and time of the communication, the method of the
            communication, and the source and destination of the communication
            (such as the source and destination telephone numbers (call detail
            records), email addresses, and IP addresses); and

             (ii) information regarding the cell tower and antenna face (also known as
            “sectors” through which the communications were sent and received).

 b. Information associated with each communication to and from the Target Cell
    Phone for a period of 30 days from the date of this warrant, including:

         i. Any unique identifiers associated with the cellular device, including ESN,
            MEIN, MSISDN, IMSI, SIM, or MIN;

        ii. Source and destination telephone numbers;

       iii. Date, time, and duration of communication; and

       iv. All data about the cell towers (i.e. antenna towers covering specific
           geographic areas) and sectors (i.e. faces of the towers) to which the Target
           Cell Phone will connect at the beginning and end of each communication

    The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
    such information associated with the Target Cell Phone.

 c. Information about the location of the Target Cell Phone for a period of 30 days
    during all times of day and night. “Information about the location of the Subject
    Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
    data, and other precise location information.

         i. To the extent that the information described in the previous paragraph
            (hereinafter, “Location Information”) is within the possession, custody, or
            control of the Provider, the Provider is required to disclose the Location
            Information to the government. In addition, the Provider must furnish the
            government all information, facilities, and technical assistance necessary
            to accomplish the collection of the Location Information unobtrusively
            and with a minimum of interference with the Provider’s services,
            including by initiating a signal to determine the location of the Target Cell
            Phone on the Provider’s network or with such other reference points as
            may be reasonably available, and at such intervals and times directed by




Case 2:20-mj-00494-SCD Filed 12/18/20 Page 5 of 26 Document 1
          the government. The government shall compensate the Provider for
          reasonable expenses incurred in furnishing such facilities or assistance.

       ii. This warrant does not authorize the seizure of any tangible property. In
           approving this warrant, the Court finds reasonable necessity for the seizure
           of the Location Information. See 18 U.S.C. § 3103a(b)(2).




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   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence of violations of 21

U.S.C. §§ 841(a) and 846 involving SERGIO ROMO and the ROMO DTO during the period

July 1, 2020 to present.

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




           Case 2:20-mj-00494-SCD Filed 12/18/20 Page 7 of 26 Document 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                    Dec 18, 2020
                                                                   for the
                                                                                                                                    s/ JeremyHeacox
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                                       Case No.
  Information related to the Sprint cellular telephone
                                                                             )
                                                                             )                         20-M-494 (SCD)
     assigned call number (414) 349-6407, MSID                               )              Matter No.: 2020R00325
                                                                             )
     000004144679717 (the "Target Cell Phone")
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A. This Court has jurisdiction pursuant to 18 U.S.C. §§2703 and 2711 and Fderal Rule of Criminal
 Procedure 41;
located in the                                    District of                                           , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §841(a)                         Manufacture, distribute or dispense, or possess with intent to manufacture,
                                                  distribute or dispense a controlled substance;

          The application is based on these facts:
        See Affidavit attached.

           ✔ Continued on the attached sheet.
           u
           ✔ Delayed notice of 30 days (give exact ending date if more than 30 days:
           u                                                                                                                 ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached
                                                                              d sheet.


                                                                                                       Applicant’s signature

                                                                                                  DCI SA Nicholas L. Gates
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).


Date:            12-18-20
                                                                                                         Judge’s
                                                                                                         Judge’
                                                                                                              ’s signature

City and state:       Milwaukee, Wis                                                        Hon. Stephen C. Dries, U.S. Magistrate
                      Case 2:20-mj-00494-SCD Filed 12/18/20 Page 8 ofPrinted name and title
                                                                      26 Document           1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Nicholas L. Gates being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information about the location

of the cellular telephone assigned call number (414) 349-6407, with International Mobile

Subscriber Identity MSID-000004144679717 (the “Target Cell Phone”), whose service provider

is Sprint (“Service Provider”), a wireless telephone service provider headquartered at 6602 Sprint

Parkway Suite 1, Overland Park, KS 66251. The Target Cell Phone is described herein and in

Attachment A, and the location information and other records to be seized is described herein and

in Attachment B.

       2.       Because this warrant application seeks the prospective collection of information,

including cell-site location information, that may fall within the statutory definitions of

information collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3)

& (4), this affidavit includes references to an existing court-authorized “pen-trap device” for said

Target Cell Phone.

       3.       I am Special Agent Nicholas Gates with the Wisconsin Department of Justice-

Division of Criminal Investigation and have been since September 18th, 2017. I am currently

assigned to the South Eastern Wisconsin Regional Gang Task Force (SWRGTF) and the

Milwaukee Federal Bureau of Investigations Field Office. In June 2020, I was officially sworn in

as a federal task force officer to work with the FBI’s gang task force, which provides me with the

authorization to present sworn affidavits in support of federal search warrants applications. Prior




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to my law enforcement service in Wisconsin, I was a certified police officer in North Dakota for

approximately 13 years.

       4.      I have received training in the area of controlled substances investigations, money

laundering, financial investigations, and various methods that drug dealers use in an effort to

conceal and launder the proceeds of their illicit drug trafficking enterprises. I have participated in

numerous investigations involving violations of controlled substances laws. I have participated or

assisted in search warrants for narcotic related offenses that have resulted in the seizure of United

States currency and vehicles, from individuals involved in narcotics trafficking.

       5.      In connection with my official DCI and SWRGTF duties, I investigate violations

of Title 21, United States Code, Sections 841(a) and 846, which are violations of the Federal

Controlled Substances Act. I have training and experience in electronic surveillance methods, the

debriefing of defendants, informants, and witnesses, as well as others who have knowledge of the

distribution, transportation, storage and importation of controlled substances. Further, I have

participated in the execution of federal search warrants.

       6.      Based upon my training and experience, I know that a “controlled buy” (and/or

controlled contact) is a law enforcement operation in which an informant purchases drugs from a

target. The operation is conducted using surveillance, usually audio and video taping equipment,

and pre-recorded purchase money. When an informant is used, he/she is searched for contraband,

weapons, and money before the operation. The informant is also wired with a concealed body

recorder and monitoring device. When the transaction is completed, the informant meets case

agents at a pre-determined meet location and gives the purchased drugs and the

recording/monitoring equipment to the case agents. The informant is again searched for




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 10 of 26 Document 1
contraband, weapons, and money. Additionally, all telephone calls made by the informant while

under the direction and control of case agents are recorded.

       7.        I have participated in investigations that have led to the issuance of numerous

search warrants involving violations of narcotics laws. These warrants involved the search of

locations including: residences of targets, their associates and relatives, “stash houses” (houses

used as drug/money storage locations), storage facilities, cellular/camera phones, and computers.

Evidence searched for and recovered in these locations has included controlled substances, records

pertaining to the expenditures and profits realized therefrom, monetary instruments, and various

assets that were purchased with the proceeds of the drug trafficking.

       8.        The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       9.        Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 21 U.S.C. §§ 841(a) and 846 have been committed

by SERGIO ROMO (AKA: “Junior”). There is also probable cause to believe that the location

information and other records and information described in Attachment B will constitute evidence

of these criminal violations.

       10.       The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated, see 18 U.S.C. §

2711(3)(A)(i).




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 11 of 26 Document 1
                                      PROBABLE CAUSE

       11.     The United States, including Wisconsin Department of Justice-Division of

Criminal Investigation, is conducting a criminal investigation of SERGIO ROMO, ROBERT

ROMO, JUAN ROMO and the ROMO drug trafficking organization (DTO) regarding possible

violations of 21 U.S.C. §§ 841(a) and 846.

       12.     The investigation to date has included traditional law enforcement methods,

including, but not limited to: interviews with confidential sources and sources of information;

information from other law enforcement officers; documentary evidence; pen register, trap and

trace, and telephone toll data; controlled buys of drugs, controlled meetings with targets, recorded

telephone calls with targets, and controlled payments of money; physical surveillance.

       13.     On July 30, 2020 a Confidential Human Source (CHS1) approached the Federal

Bureau of Investigation (FBI) to provide information on drug activity occurring within the City of

Milwaukee, Wisconsin. On July 30, 2020, FBI Special Agents Nicholas Rupnick (S/A Rupnick)

and Jennifer Peterson (S/A Peterson) met in person with CHS1.

       14.     CHS1 provided information on the ROMO family, specifically SERGIO ROMO

(AKA: “Junior”), ROBERT ROMO (AKA: “Little Big Brother” and “Beto”), and JUAN ROMO

(AKA: “Caritas”). According to CHS1, the ROMO family has been a long-term source of supply

for cocaine distribution within the City of Milwaukee, Wisconsin and the ROMO family was

affiliated with a violent street gang known as the “Mexican Posse.”

       15.     CHS1 has known the ROMO family for two (2) years. S/A Rupnick and S/A

Peterson provided the CHS1 with images related to the ROMO family members. CHS1 positively

identified SERGIO ROMO, ROBERT ROMO, and JUAN ROMO from the provided




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 12 of 26 Document 1
images. Additionally, CHS1 identified phone numbers and residences associated with members

of the ROMO family.

       16.     CHS1 stated SERGIO ROMO uses the following cell phone number: 414-349-6407

(“Target Cell Phone” or “TCP1”). SERGIO ROMO’s phone number was provided to CHS1 from

personal contact with ROBERT and/or SERGIO ROMO.

       17.     CHS1 stated ROBERT ROMO uses the following cell phone number: 414-400-

3182. ROBERT ROMO’s phone numbers was provided to CHS1 from personal contact with

ROBERT and/or SERGIO ROMO.

       18.     CHS1 agreed to provide additional information to case agents and conduct

controlled purchases of narcotics from the ROMO family and/or their associates in exchange for

monetary compensation. S/A Rupnick and S/A Peterson conducted a background and criminal

history check on CHS1 and found no previous convictions or pending criminal charges.

       19.     The information provided by the CHS1 has been corroborated through sources

regularly available to law enforcement. Agents have also verified the information through phone

toll analysis, physical surveillance, and controlled buys.

       20.     On September 2, 2020, SERGIO ROMO contacted CHS1 via Facebook Messenger

regarding the sale of two (2) “eight balls” of cocaine (approximately .25 ounces or 7 grams total).

The deal was not completed on September 2nd, 2020. This contact was made by SERGIO ROMO

via the following Facebook account: “facebook.com/junior.sur.144.”

       21.     While in the presence of case agents, CHS1 displayed SERGIO ROMO’s Facebook

account on CHS1’s personal cell phone. Agents verified the account ID and observed images of

SERGIO ROMO on the account.




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 13 of 26 Document 1
       22.      During a meeting on September 3, 2020 between CHS1 and SERGIO ROMO,

SERGIO ROMO told CHS1 that if he/she wanted to purchase cocaine, he/she would have to

contact ROBERT ROMO via Facebook Messenger. CHS1 used his/her cell phone to open

Facebook. CHS1 located the account “facebook.com/robert.romo7” and displayed the account

to SERGIO ROMO. SERGIO ROMO confirmed the displayed account was his brother, ROBERT

ROMO.        CHS1 met with agents and displayed the account, “facebook.com/robert.romo7.”

Agents observed images of ROBERT ROMO within the Facebook account.

       23.      Case agents sought to introduce an undercover agent to the ROMO drug trafficking

organization (DTO) through the CS1’s various ROMO DTO contacts. Agents were able to make

an introduction in September 2020.

       24.      On September 28, 2020, United States Magistrate Judge Stephen C. Dries issued

an “[o]rder authorizing the installation and use of a pen register and trap and trace device or process

(‘pen-trap device’)” on SERGIO ROMO’s cell phone: 414-397-6407 (App. No. 13823). After

serving said order on Sprint, case agents received call data pertaining to SERGIO ROMO’s phone:

414-397-6407 (Target Cell Phone or TCP1). Said “pen-trap device” is currently providing call

data to case agents.

       25.      On October 26, 2020, at approximately 2:30 p.m., while working in an undercover

capacity, City of Milwaukee Police Officer Arzaga, who is assigned to the North Central High

Intensity Drug Trafficking Area (HIDTA), contacted SERGIO ROMO at TCP1. Officer Arzaga

inquired about purchasing six (6) ounces of cocaine from SERGIO ROMO. SERGIO ROMO

stated he needed to call the “warehouse” to know what was available. SERGIO ROMO stated he

would call back within 5 minutes.




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 14 of 26 Document 1
       26.     On October 26, 2020, at approximately 2:32 p.m., SERGIO ROMO placed a call

from TCP1 to ROBERT ROMO at 414-400-3182.

       27.     On October 26, 2020, at approximately 2:33 p.m., SERGIO ROMO placed a call

from TCP1 to Officer Arzaga and stated the cocaine was not available. SERGIO ROMO further

stated he would call Officer Arzaga when the cocaine is available.

       28.     On October 27, 2020, SERGIO ROMO utilized TCP1 and contacted Officer

Arzaga. SERGIO ROMO informed Officer Arzaga that the cocaine was available. SERGIO

ROMO further stated the cocaine was delivered from Chicago to Milwaukee.

       29.     Through the use of cell phone text message(s) and phone call(s) to and from TCP1,

an undercover controlled buy was arranged for October 28, 2020.

       30.     On October 28, 2020, Officer Arzaga met with SERGIO ROMO at 1035 South 33rd

Street, Milwaukee, Wisconsin to purchase six (6) ounces of cocaine for $12,000.00. Officer

Arzaga gave SERGIO ROMO $12,000 in pre-recorded government buy money. In exchange,

SERGIO ROMO gave Officer Arzaga six (6) ounces of cocaine to complete the transaction. The

undercover controlled buy was audio and visually recorded with supporting agents in the area

conducting surveillance.

       31.     In my training and experience, I have learned that the Service Provider is a company

that provides cellular communications service to the general public. I also know that providers of

cellular communications service have technical capabilities that allow them to collect and generate

information about the locations of the cellular devices to which they provide service, including

cell-site data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular device and, in some cases, the “sector” (i.e., faces of the towers) to




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 15 of 26 Document 1
which the device connected. These towers are often a half-mile or more apart, even in urban areas,

and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless device

does not necessarily serve every call made to or from that device. Accordingly, cell-site data

provides an approximate general location of the cellular device.

                                           Cell-Site Data

       32.     Based on my training and experience, I know that the Service Provider can collect

cell-site data on a prospective basis about the Target Cell Phone. Based on my training and

experience, I know that for each communication a cellular device makes, its wireless service

provider can typically determine: (1) the date and time of the communication; (2) the telephone

numbers involved, if any; (3) the cell tower to which the customer connected at the beginning of

the communication; (4) the cell tower to which the customer was connected at the end of the

communication; and (5) the duration of the communication. I also know that wireless providers

such as the Service Provider typically collect and retain cell-site data pertaining to cellular devices

to which they provide service in their normal course of business in order to use this information

for various business-related purposes.

                               E-911 Phase II / GPS Location Data

       33.     I know that some providers of cellular telephone service have technical capabilities

that allow them to collect and generate E-911 Phase II data, also known as GPS data or latitude-

longitude data. E-911 Phase II data provides relatively precise location information about the

cellular telephone itself, either via GPS tracking technology built into the phone or by triangulating

on the device’s signal using data from several of the provider’s cell towers. As discussed above,

cell-site data identifies the “cell towers” (i.e., antenna towers covering specific geographic areas)

that received a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 16 of 26 Document 1
of the towers) to which the telephone connected. These towers are often a half-mile or more apart,

even in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest

to a wireless device does not necessarily serve every call made to or from that device. Accordingly,

cell-site data is typically less precise that E-911 Phase II data. Based on my training and

experience, I know that the Service Provider can collect E-911 Phase II data about the location of

the Target Cell Phone, including by initiating a signal to determine the location of the Target Cell

Phone on the Service Provider’s network or with such other reference points as may be reasonably

available.

                                     Subscriber Information

       34.     Based on my training and experience, I know that wireless providers such as the

Service Provider typically collect and retain information about their subscribers in their normal

course of business. This information can include basic personal information about the subscriber,

such as name and address, and the method(s) of payment (such as credit card account number)

provided by the subscriber to pay for wireless communication service. I also know that wireless

providers such as the Service Provider typically collect and retain information about their

subscribers’ use of the wireless service, such as records about calls or other communications sent

or received by a particular device and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence of the crimes

under investigation because the information can be used to identify the Target Cell Phone’s user

or users and may assist in the identification of co-conspirators and/or victims.

                                AUTHORIZATION REQUEST

       35.     Based on the foregoing, I request that the Court issue the proposed warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.




         Case 2:20-mj-00494-SCD Filed 12/18/20 Page 17 of 26 Document 1
       36.     I further request that the Court direct the Service Provider to disclose to the

government any information described in Section I of Attachment B that is within its possession,

custody, or control.

       37.     I also request that the Court direct the Service Provider to furnish the government

all information, facilities, and technical assistance necessary to accomplish the collection of the

information described in Attachment B unobtrusively and with a minimum of interference with

the Service Provider’s services, including by initiating a signal to determine the location of the

Target Cell Phone on the Service Provider’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the government. The

government shall reasonably compensate the Service Provider for reasonable expenses incurred in

furnishing such facilities or assistance.

       38.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until

30 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the warrant may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the Target

Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an opportunity to destroy evidence, change patterns of behavior, notify confederates,

and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,

which is incorporated into the warrant, the proposed search warrant does not authorize the seizure

of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant

authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510)




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or any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

       39.     I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the Target Cell Phone outside of daytime hours.




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                                  ATTACHMENT A

                               Property to Be Searched

1. Records and information associated with the cellular device assigned call number (414)

   349-6407, with International Mobile Subscriber Identity MSID-000004144679717 (the

   “Target Cell Phone”), whose listed subscriber(s) is unknown, that is in the custody or

   control of Sprint (referred to herein and in Attachment B as the “Provider”), a wireless

   communications service provider that is headquartered at 6602 Sprint Parkway Suite 1,

   Overland Park, Kansas 66251.


2. The Target Cell Phone.




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                                    ATTACHMENT B

                              Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period July 1, 2020
           to present:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.

                                              2

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       ix. All records and other information (not including the contents of
           communications) relating to wire and electronic communications sent or
           received by the Target Cell Phone, including:

            (A) the date and time of the communication, the method of the
            communication, and the source and destination of the communication
            (such as the source and destination telephone numbers (call detail
            records), email addresses, and IP addresses); and

             (ii) information regarding the cell tower and antenna face (also known as
            “sectors” through which the communications were sent and received).

 b. Information associated with each communication to and from the Target Cell
    Phone for a period of 30 days from the date of this warrant, including:

         i. Any unique identifiers associated with the cellular device, including ESN,
            MEIN, MSISDN, IMSI, SIM, or MIN;

        ii. Source and destination telephone numbers;

       iii. Date, time, and duration of communication; and

       iv. All data about the cell towers (i.e. antenna towers covering specific
           geographic areas) and sectors (i.e. faces of the towers) to which the Target
           Cell Phone will connect at the beginning and end of each communication

    The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
    such information associated with the Target Cell Phone.

 c. Information about the location of the Target Cell Phone for a period of 30 days
    during all times of day and night. “Information about the location of the Subject
    Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
    data, and other precise location information.

         i. To the extent that the information described in the previous paragraph
            (hereinafter, “Location Information”) is within the possession, custody, or
            control of the Provider, the Provider is required to disclose the Location
            Information to the government. In addition, the Provider must furnish the
            government all information, facilities, and technical assistance necessary
            to accomplish the collection of the Location Information unobtrusively
            and with a minimum of interference with the Provider’s services,
            including by initiating a signal to determine the location of the Target Cell
            Phone on the Provider’s network or with such other reference points as
            may be reasonably available, and at such intervals and times directed by




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          the government. The government shall compensate the Provider for
          reasonable expenses incurred in furnishing such facilities or assistance.

       ii. This warrant does not authorize the seizure of any tangible property. In
           approving this warrant, the Court finds reasonable necessity for the seizure
           of the Location Information. See 18 U.S.C. § 3103a(b)(2).




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   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence of violations of 21

U.S.C. §§ 841(a) and 846 involving SERGIO ROMO and the ROMO DTO during the period

July 1, 2020 to present.

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




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                CERTIFICATE OF AUTHENTICITY OF DOMESTIC
            RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                           902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by XXXX ,and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of

XXXX The attached records consist of ______________ [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:

       a.       all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of _____________ and they were made by _____________ as a regular

practice; and

       b.       such records were generated by ______________ electronic process or system

that produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of ___________________ in a manner to ensure that they are true

duplicates of the original records; and




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               2.      the process or system is regularly verified by ________________, and at

all times pertinent to the records certified here the process and system functioned properly and

normally.

        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature




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